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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                SOUTHEASTERN DIVISION

                                                )
United States of America,                       )
                                                )         ORDER DISMISSING MOTION
                       Plaintiff,               )           UNDER 28 U.S.C. § 2255
                                                )
       vs.                                      )            Crim. File No. 3:03-cr-90-12
                                                )             Civil File No. 3:07-cv-67
Adrian Steven Morin,                            )
                                                )
                       Defendant.               )
                                                )



       Before the Court is Adrian Steven Morin’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence (Doc. #759).

       On August 30, 2004, Mr. Morin pled guilty to conspiracy to possess with intent to distribute

and distribute controlled substances, in violation of 21 U.S.C. § 846. He was sentenced on February

25, 2005, to 264 months’ imprisonment. He timely appealed to the Eighth Circuit Court of Appeals,

which affirmed this Court’s judgment. United States v. Morin, 437 F.3d 777 (8th Cir. 2006).

Rehearing was denied on March 17, 2006, and the Mandate of the Court of Appeals was filed on

March 27, 2006.

       A petition for review under 28 U.S.C. § 2255 is subject to a 1-year period of limitation. The

limitation period runs from the latest of:

               1) the date on which the judgment of conviction becomes final;

               2) the date on which the impediment to making a motion created by
       governmental action in violation of the Constitution or laws of the United States is
       removed, if the movant was prevented from making a motion by such governmental
       action;

               3) the date on which the right asserted was initially recognized by the
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         Supreme Court, if that right has been newly recognized by the Supreme Court and
         made retroactively applicable to cases on collateral review; or

                4) the date on which the facts supporting the claim or claims presented could
         have been discovered through the exercise of due diligence.

28 U.S.C. § 2255.

         Here, there are no allegations that indicate 2), 3), or 4) are applicable. Therefore, the

question of timeliness is dependent upon whether Mr. Morin’s July 23, 2007 motion was filed within

one year of the date on which the judgment of conviction became final. The United States Supreme

Court has established that in such a case, “a judgment of conviction becomes final when the time

expires for filing a petition for certiorari contesting the appellate court’s affirmation of the

conviction.” Clay v. United States, 537 U.S. 522, 525 (2003) (emphasis added). Supreme Court

Rule 13 requires a petition for a writ of certiorari be filed within 90 days after entry of the Court of

Appeals’ judgment or, if applicable, denial of rehearing.

         Here, rehearing was denied on March 17, 2006. The judgment of conviction became final

90 days later, on June 15, 2006. Mr. Morin’s § 2255 petition was not filed until July 23, 2007 –

approximately one month and eight days too late.

         Mr. Morin’s § 2255 petition is time-barred and is therefore DISMISSED. In addition, the

Court certifies that an appeal from the denial of this motion may not be taken in forma pauperis

because such an appeal would be frivolous and cannot be taken in good faith. Coppedge v. United

States, 369 U.S. 438, 444-45 (1962). Dismissal of this motion is not debatable, reasonably subject

to a different outcome on appeal, or otherwise deserving of further proceedings. Barefoot v. Estelle,

463 U.S. 880, 893 n. 4 (1983). Therefore, a certificate of appealability will not be issued by this

Court.


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IT IS SO ORDERED.

Dated this 2nd day of April, 2008.

                                         /s/    Ralph R. Erickson
                                         Ralph R. Erickson, District Judge
                                         United States District Court




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